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8

9
                          UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
     LAJANEE SMITH,                     ) Case No. 3:10-cv-05900-EDL
11
                                        )
12          Plaintiff,                  ) NOTICE OF SETTLEMENT
                                        )
13
             vs.                        )
14                                      )
     CHECK AND CREDIT REPORTING, )
15
     INC.,                              )
16                                      )
             Defendant.                 )
17
     __________________________________ ) ________________________________
18
            NOW COMES THE PLAINTIFF by and through her attorney to respectfully
19

20   notify this Honorable Court that this case has settled. Plaintiff requests that this
21
     Honorable Court allow sixty (60) days with which to file dispositive documentation. A
22
     Notice of Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction
23

24   over this matter until fully resolved.

25                 Respectfully submitted this 25th day of March, 2011.
26
                                                  By: s/Todd M. Friedman
27                                                   TODD M. FRIEDMAN
28
                                                     Law Offices of Todd M. Friedman, P.C.
                                                     Attorney for Plaintiff


                                              Notice of Settlement - 1
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1    Filed electronically on this 25th day of March, 2011, with:
2
     United States District Court CM/ECF system
3

4
     Notification sent electronically via the Court’s ECF system to:

5    Honorable Elizabeth D. Laporte
6
     United States District Court
     Northern District of California
7

8
     Check & Credit Reporting, Inc.
     d/b/a CCR & Associates
9    Attn: Catherine McPherson
     3806 Union Road, Suite 155
10
     Cheektowaga, NY 14255
11
     This 25th day of March, 2011.
12

13   s/Todd M. Friedman
     Todd M. Friedman
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                                         Notice of Settlement - 2
